4:20-cr-03074-JMG-JMD             Doc # 70   Filed: 11/19/24   Page 1 of 1 - Page ID # 210




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiff,                                  4:20CR3074
      vs.
                                                                   ORDER
RHIANNON LEE ROJAS,
                     Defendant.


      After a review of the record, the court finds the above-named defendant is
currently eligible for appointment of counsel pursuant to the Criminal Justice Act, 18
U.S.C. §3006A, and Amended Criminal Justice Act Plan for the District of Nebraska.

      Accordingly,

      IT IS ORDERED:
      1)     The Federal Public Defender for the District of Nebraska is appointed, and
             Toni Leija-Wilson shall promptly enter an appearance as counsel for the
             above named defendant.
      2)     The Clerk shall provide a copy of this order to the Federal Public Defender
             for the District of Nebraska and to the appointed attorney.


November 19, 2024.
                                                   BY THE COURT:
                                                   s/Jacqueline M. DeLuca
                                                   United States Magistrate Judge
